                                                                                               1 Mark S. Bostick (Bar No. 111241)
                                                                                                 Elizabeth Berke-Dreyfuss (Bar No. 114651)
                                                                                               2 Lisa Lenherr (Bar No. 258091)
                                                                                                 WENDEL ROSEN LLP
                                                                                               3 1111 Broadway, 24th Floor
                                                                                                 Oakland, California 94607-4036
                                                                                               4 Telephone: (510) 834-6600
                                                                                                 Fax: (510) 834-1928
                                                                                               5 Email: mbostick@wendel.com
                                                                                                 Email: edreyfuss@wendel.com
                                                                                               6 Email: llenherr@wendel.com
                                                                                                 Attorneys for Lois I. Brady, Trustee
                                                                                               7

                                                                                               8

                                                                                               9                              UNITED STATES BANKRUPTCY COURT

                                                                                              10                              NORTHERN DISTRICT OF CALIFORNIA

                                                                                              11                                        OAKLAND DIVISION

                                                                                              12
                                                     O akland, Ca lif or ni a 946 07-4 036
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                              13 In re                                               Case No. 20-40990-RLE

                                                                                              14 FAIRN & SWANSON, INC.                               Chapter 7

                                                                                              15
                                                                                                                        Debtor.                      DECLARATION OF LOIS I. BRADY IN
                                                                                              16                                                     SUPPORT OF MOTION FOR ORDER [1]
                                                                                                                                                     APPROVING PRE-SALE STIPULATION,
                                                                                              17                                                     [2] AUTHORIZING CHAPTER 7
                                                                                                                                                     TRUSTEE TO INCUR POST-PETITION
                                                                                              18                                                     DEBT ON AN EMERGENCY BASIS, [3]
                                                                                                                                                     AUTHORIZING CHAPTER 7 TRUSTEE
                                                                                              19                                                     TO PAY DEPOSIT TO SECURE
                                                                                                                                                     CUSTODIAL SURETY BOND AND [4]
                                                                                              20                                                     APPROVING SECURED PARTY'S
                                                                                                                                                     CARVE-OUT TO THE ESTATE
                                                                                              21
                                                                                                                                                     Date:     TBD
                                                                                              22                                                     Time:     TBD
                                                                                                                                                     Place:    By video
                                                                                              23                                                     Judge:    The Honorable Roger L. Efremsky

                                                                                              24          I, Lois I. Brady, declare,
                                                                                              25          1.     I am the duly appointed and acting chapter 7 trustee of the above-captioned
                                                                                              26 bankruptcy estate. The following facts are true of my own personal knowledge and if called upon

                                                                                              27 to do so, I would and could competently testify thereto, except as to those matters that are alleged

                                                                                              28 upon information and belief and as to those matters, I believe them to be true. I make this


002644.0031\5980724.1
                                                                                             Case: 20-40990      Doc# 80-2      Filed: 09/11/20    Entered: 09/11/20 12:52:56       Page 1 of
                                                                                                   DECLARATION
                                                                                                                                            4
                                                                                               1 declaration in support of my application for an order shortening time and limiting notice (the

                                                                                               2 "Application") for a hearing on my Motion for Order (1) Approving pre-Sale Stipulation (the

                                                                                               3 "PSS"), (2) Authorizing Chapter 7 Trustee to Incur Post-Petition Debt on an Emergency Basis, (3)

                                                                                               4 Authorizing Chapter 7 Trustee to Pay Deposit to Secure Custodial Surety Bond and (4) Approving

                                                                                               5 Secured Party's Carve-Out to the Estate (the "Motion").

                                                                                               6          2.      Fairn & Swanson, Inc. ("Debtor") was engaged in the business of importing and

                                                                                               7 selling duty-free alcohol merchandise, among other products, at border duty-free shops and to

                                                                                               8 cruise lines.

                                                                                               9          3.      I am informed and believe that Debtor filed its petition for relief under Chapter 7

                                                                                              10 abruptly on June 2, 2020, after a "no-sail" order in the cruise line industry issued in March 2020

                                                                                              11 was extended indefinitely.

                                                                                              12          4.      At the time of filing it held inventory, mostly liquor and wine, in six warehouses
                                                     O akland, Ca lif or ni a 946 07-4 036
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                              13 and nine border stores across the country.

                                                                                              14          5.      In its Schedules, Debtor valued its inventory, based on in-bound cost, at

                                                                                              15 $39,110,570.01. WFB holds a first position security interest in substantially all assets of the

                                                                                              16 Debtor securing it prepetition claim for $19,081,233.82 (the "WFB Claim").

                                                                                              17          6.      I am informed and believe that the liquidation value of Debtor's inventory and other

                                                                                              18 assets is yet to be determined but is affected by at least two unusual factors. First, much of the

                                                                                              19 inventory is "in bond" merchandise, i.e. it is "duty-free," subject to numerous Customs and Border

                                                                                              20 Protection ("CBP") restrictions, including the requirements that the proprietor maintain the

                                                                                              21 merchandise in a foreign trade zone ("FTZ") or custom bonded warehouse ("CBW") and that any

                                                                                              22 movement of the inventory out of the FTZ or CBW be conducted by bonded carriers—such that

                                                                                              23 the inventory remains "in-bond" at all times while in the United States. The second factor is the

                                                                                              24 Covid-19 crisis, which resulted in a "no-sail" order of uncertain duration prohibiting cruise lines

                                                                                              25 from operating. As cruise lines are the primary wholesale purchasers of Debtor's inventory, their

                                                                                              26 no-sail status creates uncertainty in the timing of any future sales of the inventory.

                                                                                              27          7.      The foregoing factors have caused delay in the marketing process and a dampening

                                                                                              28 of the price, while the estate's carrying costs to preserve the inventory pending sale, including rent,


002644.0031\5980724.1
                                                                                             Case: 20-40990      Doc# 80-2      Filed: 09/11/20    Entered: 09/11/20 12:52:56        Page 2 of
                                                                                                   DECLARATION                                      2
                                                                                                                                            4
                                                                                               1 insurance, security, utilities, and other preservation expenses, including professional expenses, is

                                                                                               2 substantial, over $600,000.00 per month on an accrual basis as shown in the Budget (defined in

                                                                                               3 the PSS) attached to the PSS.

                                                                                               4           8.     On or about June 25, 2020, I, on behalf of the estate, and the Lender entered into a

                                                                                               5 cash collateral stipulation (the "Cash Collateral Stipulation"), that was approved by final order on

                                                                                               6 July 23, 2020 (the "Final Order"). Since my appointment on June 2, 2020, I have recovered over

                                                                                               7 $1,200,000.00 in account receivable proceeds. However, this amount is insufficient to cover all of

                                                                                               8 the estate's anticipated bonding requirements and carrying costs and post-petition financing is

                                                                                               9 required to preserve the estate's assets pending sale.

                                                                                              10           9.     Of immediate concern is an obligation to post $500,000.00 as cash collateral to

                                                                                              11 secure a FTZ custodial surety bond that is necessary to maintain CBP bonded inventory

                                                                                              12 requirements. In particular, the Debtor's current FTZ bond is through American Alternative
                                                     O akland, Ca lif or ni a 946 07-4 036
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                              13 Insurance Corporation ("AA") (the "Bond") and is set to expire September 20, 2020, at 11:59 p.m.

                                                                                              14           10.    Prior to any renewal of the Bond, AA is requiring collateral in the form of a letter

                                                                                              15 of credit in the amount of $500,000. I am informed and believe that failure to renew the Bond can

                                                                                              16 result in immediate confiscation of the merchandise by CBP. I am unable to provide a letter of

                                                                                              17 credit to AA, and I have therefore, sought to obtain a replacement bond in an equal amount,

                                                                                              18 $500,000, from Argonaut Insurance Company ("Argonaut"). While Argonaut is similarly

                                                                                              19 requiring collateral in the full amount of the bond, it is willing to accept a cash deposit. The cost

                                                                                              20 premium for the Argonaut bond is $12,500 and is fully earned.

                                                                                              21           11.    In addition to the deposit of the $500,000 cash as collateral for the replacement

                                                                                              22 FTZ bond, Argonaut is requiring that I execute a limited guaranty. It is my understanding that the

                                                                                              23 indemnity of the surety (Argonaut) is limited to the collateral posted to secure the Bond.

                                                                                              24           12.    I believe that the proposed financing and other related requests in the Motion are in

                                                                                              25 the best interests of the estate and its creditors and will facilitate an orderly liquidation of the

                                                                                              26 estate.

                                                                                              27 / / /

                                                                                              28 / / /


002644.0031\5980724.1
                                                                                             Case: 20-40990       Doc# 80-2      Filed: 09/11/20     Entered: 09/11/20 12:52:56         Page 3 of
                                                                                                   DECLARATION                                        3
                                                                                                                                             4
                                                                                               1         I declare under penalty of perjury that the foregoing is true and correct and that this

                                                                                               2 declaration was executed on the 11th day of September, 2020, at Oakland, California.

                                                                                               3
                                                                                                                                                           /s/ Lois I. Brady
                                                                                               4                                                   Lois I. Brady
                                                                                               5

                                                                                               6

                                                                                               7

                                                                                               8

                                                                                               9

                                                                                              10

                                                                                              11

                                                                                              12
                                                     O akland, Ca lif or ni a 946 07-4 036
                   1111 Bro adw ay, 24 t h F lo or
Wendel Rosen LLP




                                                                                              13

                                                                                              14

                                                                                              15

                                                                                              16

                                                                                              17

                                                                                              18

                                                                                              19

                                                                                              20

                                                                                              21

                                                                                              22

                                                                                              23

                                                                                              24

                                                                                              25

                                                                                              26

                                                                                              27

                                                                                              28


002644.0031\5980724.1
                                                                                             Case: 20-40990      Doc# 80-2     Filed: 09/11/20     Entered: 09/11/20 12:52:56        Page 4 of
                                                                                                   DECLARATION                                      4
                                                                                                                                           4
